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                       EXHIBIT A

DECLARATION OF WILLIAM S. COOPER
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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                   (Northern Division)



 BALTIMORE COUNTY BRANCH OF THE
 NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED PEOPLE, et al.,

                               Plaintiffs,
                                                              Civil Action No. LKG-21-03232
 v.

 BALTIMORE COUNTY, MARYLAND, et al.,

                               Defendants.




                    THIRD DECLARATION OF WILLIAM S. COOPER

       1.      I previously executed two other Declarations that were submitted in this action. The

first was submitted on January 18, 2022, (ECF 28-2) and the second on February 7, 2022, (ECF

41-2). Since then, I have reviewed Defendant Baltimore County’s Motion for Approval of

Proposed Redistricting Map and to Modify Preliminary Injunction (ECF 57), the accompanying

proposed Councilmanic Redistricting Map (ECF 57-3), and the Supplemental Declaration of Dr.

James G. Gimpel, Ph.D. (ECF 57-6).

       2.      The County’s new proposed map fails to create two majority-Black districts,

although this is readily possible. Instead, the County’s revised District 2 includes a Black citizen

voting age population of 41.7% and a white citizen voting age population of 52.1%. This represents

only a 3.4% decrease in the white citizen voting age population from the version of District 2

included in the plan invalidated by the Court, as the previous District 2 had a white citizen voting

age population of 55.5%. Although the new map increases the Black citizen voting age population
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of the district from 31.2% to 41.7%, this is still significantly less than a majority of the district’s

vote-eligible population, and over ten points less than its white population.

       3.      The County states that when shares of Black, Hispanic, and Asian population are

combined in its revised District 2, the district’s non-white population would be 50.9%.

Additionally, the County claims, when Multiracial, Biracial, Other race, Native American and

Hawaiian/Pacific Islander population shares are included, the non-white share of the population in

District 2 would be 54.2%. However, in this assessment, the County fails to use citizen voting age

populations, a critical factor in determining the fairness of a remedial redistricting plan. Given that

42% of Baltimore County’s Latinx population is made up of non-citizens, the demographic make-

up of the population eligible to vote in the County’s proposed District 2 — that is, citizen population

of voting age — is majority white, at 52.1%.

       4.      As shown in Exhibit 1, a chart showing complete demographic information on the

County’s proposed remedial plan, the only majority-Black voting district remains District 4. The

County still unnecessarily “packs” a supermajority of Black population into District 4, with the

Black voting age population now equaling 64.1%, and its general Black population 66.0%. All six

of the other Council districts in the County’s newly proposed map retain a citizen voting age

population that is majority white.

       5.      Additionally, the County’s proposed map continues to “crack” majority-Black

communities of interest, including Woodlawn, Milford Mill, Randallstown, and Owings Mills, as

well as dividing numerous other communities throughout the County.

       6.      As I have shown in my previously submitted illustrative Plans 1 and 5, two

reasonably compact majority-Black districts can be easily established with the County’s Black




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population distribution in line with court-accepted standards under Section 2. Yet, the County has

failed to do so here.

        7.      In addition to the two illustrative maps Plaintiffs have already submitted, since

receiving the shapefiles for the County’s proposed map yesterday afternoon, I have attempted to

adapt the new County map to create two fair majority-Black districts while keeping the vast

majority of the County’s plan intact. This adjusted map is attached hereto as Exhibit 2A, and a

zoomed-in version showing the precincts shifted between Districts 2 and 4 is attached as Exhibit

2B. On this map, the districts the County proposed on the night of March 8th are outlined in red,

and the districts I have drawn are shown by their color. This map is only a slight variation from the

County’s proposed map, shifting only eleven precincts. It keeps the County’s proposed Districts 1,

5, 6, and 7 entirely intact, and shifts just one lightly populated precinct out of District 3, while

creating a second majority-Black district (District 2) in addition to the existing majority-Black

District 4. This variation on the County’s map complies with all accepted standards under Section

2 of the Voting Rights Act, including through its creation of two solid majority-Black districts, with

a 53.8% Black voting age population (52.0% CVAP) in District 2, and a 53.2% Black VAP (51.6%

CVAP) in District 4. Full data on this map is shown in Exhibit 2C, and compactness scores are

shown in Exhibit 2D.


        I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief.


Executed on March 10, 2022



                                               _______________________________________
                                               William S. Cooper



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                 EXHIBIT 1




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                                                 Population Summary Report (2020 Census)
                                                       Baltimore County March 8, 2022 Proposal

              Adusted                                        2020                         % Any Part   Single-race     % Single-
District     Population      Deviation     % Deviation     Population    Any Part Black     Black         Black       race Black      Latino   % Latino   NH White   % NH White


1                120492           -1890         -1.54%        120183            36414       30.30%           33529      27.90%       10504       8.74%       56087      46.67%
2                117868           -4514         -3.69%        117592            51416       43.72%           48921      41.60%        7744       6.59%       51920      44.15%
3                120742           -1640         -1.34%        120644            10622        8.80%            9192       7.62%        6704       5.56%       90555      75.06%
4                120066           -2316         -1.89%        119717            78976       65.97%           75241      62.85%        7757       6.48%       26579      22.20%
5                122422              40          0.03%        122211            25709       21.04%           23347      19.10%        5933       4.85%       75955      62.15%
6                127655            5273          4.31%        127328            43557       34.21%           40487      31.80%        8897       6.99%       64768      50.87%
7                127428            5046          4.12%        126860            28666       22.60%           25076      19.77%       13953      11.00%       77399      61.01%

Total            856673                          8.00%        854535          275360        32.22%         255793       29.93%       61492       7.20%      443263      51.87%

                                            % 18+_AP      18+_NH AP      % 18+_NH AP                                  18+_NH AP    % 18+_NH    18+_NH     % 18+_NH
District    18+_Pop        18+_ AP Black      Black         Black           Black         18+ Latino   % 18+ Latino     Asian       AP Asian    White       White


1             93945              27285         29.04%           26805         28.53%           6884          7.33%        11468     12.21%       46926      49.95%
2             91918              39632         43.12%           39137         42.58%           5084          5.53%         4383      4.77%       42206      45.92%
3             94983               7426          7.82%            7173          7.55%           4356          4.59%         7755      8.16%       73875      77.78%
4             93481              59922         64.10%           59130         63.25%           5226          5.59%         4902      5.24%       23259      24.88%
5             95858              17473         18.23%           17123         17.86%           3799          3.96%         9156      9.55%       63669      66.42%
6             101796             32477         31.90%           31806         31.24%           6217          6.11%         6855      6.73%       55219      54.24%
7             97530              19232         19.72%           18639         19.11%           8623          8.84%         2380      2.44%       64412      66.04%

Total         669511            203447         30.39%         199813          29.84%          40189          6.00%        46899      7.00%      369566      55.20%

            % NH Single-                   % NH Single-   % NH Single-
             Race Black      % Latino       Race Asian     Race White
District       CVAP*          CVAP            CVAP*          CVAP*


1                29.86%          2.42%           6.23%        60.52%
2                41.68%          2.78%           2.90%        52.11%
3                 7.03%          2.73%           5.64%        84.06%
4*               62.24%          2.33%           4.09%        30.35%
5                13.09%          1.86%           6.69%        78.04%
6                27.18%          3.80%           4.00%        64.06%
7                17.00%          3.06%           1.54%        77.19%

Note: Citizen Voting Age Population (CVAP) percentages are disaggregated from block-group level ACS estimates (with a survey
midpoint of July 2017)
Source for CVAP disaggregation: Redistricting Data Hub
https://redistrictingdatahub.org/dataset/maryland-cvap-data-disaggregated-to-the-2020-block-level-2019/
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               EXHIBIT 2A
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               EXHIBIT 2B




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               EXHIBIT 2C




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                                                  Population Summary Report (2020 Census)
                                         Plaintiffs' March 10 Modification to Baltimore County March 8, 2022 Proposal

              Adusted                                        2020                         % Any Part   Single-race     % Single-
District     Population      Deviation      % Deviation    Population    Any Part Black     Black         Black       race Black       Latino    % Latino    NH White   % NH White


1                120492           -1890         -1.54%        120183            36414       30.30%           33529       27.90%       10504       8.74%         56087      46.67%
2                122134            -248         -0.20%        121792            65752       53.99%           62936       51.67%        8254       6.78%         41991      34.48%
3                119806           -2576         -2.10%        119708            10602        8.86%            9179        7.67%        6675       5.58%         89706      74.94%
4                116736           -5646         -4.61%        116453            64660       55.52%           61239       52.59%        7276       6.25%         37357      32.08%
5                122422              40          0.03%        122211            25709       21.04%           23347       19.10%        5933       4.85%         75955      62.15%
6                127655            5273          4.31%        127328            43557       34.21%           40487       31.80%        8897       6.99%         64768      50.87%
7                127428            5046          4.12%        126860            28666       22.60%           25076       19.77%       13953      11.00%         77399      61.01%

Total            856673                          8.92%        854535          275360        32.22%         255793        29.93%       61492        7.20%       443263      51.87%

                                            % 18+_AP      18+_NH AP      % 18+_NH AP                                  18+_NH AP                              % 18+_NH
District    18+_Pop        18+_ AP Black      Black         Black           Black         18+ Latino   % 18+ Latino     Asian
                                                                                                                            % 18+_NH AP Asian 18+_NH White     White


1             93945              27285          29.04%          26805         28.53%           6884          7.33%        11468      12.21%        46926       49.95%
2             94750              50947          53.77%          50347         53.14%           5451          5.75%         4032       4.26%        33914       35.79%
3             94213               7415           7.87%           7162          7.60%           4339          4.61%         7740       8.22%        73157       77.65%
4             91419              48618          53.18%          47931         52.43%           4876          5.33%         5268       5.76%        32269       35.30%
5             95858              17473          18.23%          17123         17.86%           3799          3.96%         9156       9.55%        63669       66.42%
6             101796             32477          31.90%          31806         31.24%           6217          6.11%         6855       6.73%        55219       54.24%
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Total         669511            203447          30.39%        199813          29.84%          40189          6.00%        46899       7.00%      369566        55.20%

            % NH Single-                   % NH Single-   % NH Single-
             Race Black      % Latino       Race Asian     Race White
District       CVAP*          CVAP            CVAP*          CVAP*


1                29.86%          2.42%           6.23%        60.52%
2                52.02%          2.66%           2.67%        42.16%
3                 7.08%          2.74%           5.67%        83.94%
4*               51.61%          2.43%           4.34%        40.60%
5                13.09%          1.86%           6.69%        78.04%
6                27.18%          3.80%           4.00%        64.06%
7                17.00%          3.06%           1.54%        77.19%

Note: Citizen Voting Age Population (CVAP) percentages are disaggregated from block-group level ACS estimates (with a survey
midpoint of July 2017)
Source for CVAP disaggregation: Redistricting Data Hub
https://redistrictingdatahub.org/dataset/maryland-cvap-data-disaggregated-to-the-2020-block-level-2019/
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               EXHIBIT 2D




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Plan Name:     Baltimore_March_10_Plan
Plan Type:
Date: 3/10/2022 Time:
1:19:18PM
Administrator:



Measures of Compactness
3/10/2022




DISTRICT      Roeck                      Polsby-Popper


1                0.37                       0.45
2                0.36                       0.25
3                0.51                       0.48
4                0.39                       0.21
5                0.50                       0.41
6                0.23                       0.24
7                0.61                       0.76


Sum              N/A                        N/A
Min              0.23                       0.21
Max              0.61                       0.76
Mean             0.42                       0.40
Std. Dev.        0.12                       0.19
                                                                        1
